        Case 8:19-mc-00005-AG-DFM Document 46 Filed 02/13/19 Page 1 of 2 Page ID #:698


                   1   LATHAM & WATKINS LLP
                        Manuel A. Abascal (Bar No. 171301)
                   2    manny.abascal@lw.com
                        Brian T. Glennon (Bar No. 211012)
                   3    brian.glennon@lw.com
                        Kristen M. Tuey (Bar No. 252565)
                   4    kristen.tuey@lw.com
                       355 South Grand Avenue, Suite 100
                   5   Los Angeles, CA 90071-1560
                       Tel: (213) 485-1234
                   6   Fax: (213) 891-8763
                   7   LATHAM & WATKINS LLP
                        Michele D. Johnson (Bar No. 198298)
                   8    michele.johnson@lw.com
                        Andrew R. Gray (Bar No. 254594)
                   9    andrew.gray@lw.com
                       650 Town Center Drive, 20th Floor
                10     Costa Mesa, CA 92626-1925
                       Tel: (714) 540-1235
                11     Fax: (714) 755-8290
                12     Attorneys for Defendant
                       Steven A. Sugarman
                13
                14                         UNITED STATES DISTRICT COURT
                15                        CENTRAL DISTRICT OF CALIFORNIA
                16
                17     Castalian Partners Value Fund LP et al   CASE NO. 8:19-mc-00005 DOC (JDEx)
                18                                              DEFENDANT STEVEN A.
                                                                SUGARMAN’S NOTICE OF
                19                                              RELATED CASES
                20                                              [L.R. 83-1.3]
                21
                                                                [Related to: 8:17-00118 AG (DFMx)
                22                                              consolidated with 2:17-00138 AG (DFMx)
                                                                and 2:18-mc-00147 AG (DFMx)]
                23
                24
                25
                26
                27
                28
                                                                            CASE NO. 8:19-mc-00005-DOC (JDEx)
ATTORNEYS AT LAW
  LOS ANGELES
                                                                                 NOTICE OF RELATED CASES
        Case 8:19-mc-00005-AG-DFM Document 46 Filed 02/13/19 Page 2 of 2 Page ID #:699


                   1          TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
                   2   RECORD:
                   3          Pursuant to Local Rule 83-1.3, please take notice that the above-captioned
                   4   action is related to other actions pending before the United States District Court
                   5   for the Central District of California, entitled In re Banc of California Securities
                   6   Litigation (Case No.8:17-00118-AG (DFMx), consolidated with 2:17-00138 AG
                   7   (DFMx), and In re Subpoenas to Muddy Waters Capital LLCP, MLAF LP, and
                   8   SS&C Technologies, Inc., Case No. 2:18-mc-00147 AG (DFMx). These actions
                   9   should be related because the subpoenas at issue were issued in connection with
                10     the In re Banc of California Securities litigation, Case No. 8:17-00118-AG
                11     (DFMx). See L.R. 83-1.3.
                12            Accordingly, these actions should be related pursuant to Local Rule 83-1.3.
                13
                14 Dated: February 13, 2019                      LATHAM & WATKINS LLP
                15                                               By: /s/ Andrew Gray
                16                                                   Andrew Gray
                                                                     Attorney for Defendant Steven A.
                17                                                   Sugarman

                18
                19
                20
                21
                22
                23
                24
                25
                26
                27
                28
                                                                                CASE NO. 8:19-mc-00005-DOC (JDEx)
ATTORNEYS AT LAW
  LOS ANGELES                                                     2                  NOTICE OF RELATED CASES
